









Dismissed and Memorandum Opinion filed September 29, 2005









Dismissed and Memorandum Opinion filed September 29,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00527-CV

____________

&nbsp;

CYNTHIA NITZSCHE,
Appellant

&nbsp;

V.

&nbsp;

FIRE INSURANCE EXCHANGE, WARDLAW
CLAIMS SERVICE, ET AL., Appellees

&nbsp;



&nbsp;

On Appeal from the 164th District
Court

Harris County, Texas

Trial Court Cause No.
03-49027

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an attempted appeal from judgment signed May 4,
2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On August 19, 2005, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 29, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore. 

&nbsp;





